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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


IPA TECHNOLOGIES INC.,

                    Plaintiff,

v.                                                C.A. No. 16-cv-01236-RGA

TCL COMMUNICATION
TECHNOLOGY HOLDINGS, LTD.,
TCT MOBILE LIMITED, and TCT
MOBILE (US), INC.,

                    Defendants.

                    STIPULATION FOR DISMISSAL WITHOUT PREJUDICE

        Plaintiff IPA Technologies Inc. (“IPA”) and Defendants TCL Communication

Technology Holdings, Ltd., TCT Mobile Limited, and TCT Mobile (US), Inc., pursuant to Fed.

R. Civ. P. 41(a)(1)(A)(ii) hereby stipulate to dismissal of this action including all claims filed by

IPA, WITHOUT PREJUDICE, with each party to bear its own costs, expenses, and attorneys’

fees.
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Dated: April 18, 2018

BAYARD, P.A.                                     PHILLIPS GOLDMAN MCLAUGHLIN & HALL,
                                                 P.A.

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